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     1st One Hundred Holdings, LLC, and
13   Battle Born Investments Company, LLC
14

15                                UNITED STATES DISTRICT COURT
16                               NORTHERN DISTRICT OF CALIFORNIA
17                                   SAN FRANCISCO DIVISION
18                                                     Case No. 20-7811-RS
     UNITED STATES OF AMERICA,
19                                                     VERIFIED ANSWER BY BATTLE BORN
                    Plaintiff,
                                                       INVESTMENTS COMPANY, LLC
20
             v.
21
     Approximately 69,370 Bitcoin (BTC),               Judge: Hon. Richard Seeborg
22                                                     Courtroom: 3
     Bitcoin Gold (BTG), Bitcoin SV (BSV), and
     Bitcoin Cash (BCH) seized from                    Case Filed: November 5, 2020
23                                                     FAC Filed: November 20, 2020
     1HQ3Go3ggs8pFnXuHVHRytPCq5fGG8Hb
                                                       Trial Date:   TBD
24   hx,
25                  Defendant.
26   Battle Born Investments Company, LLC,
27                  Claimant.
28
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 1

 2           Claimant Battle Born Investments Company, LLC having duly filed its claim of interests

 3   in the above-captioned lawsuit on March 16, 2021, by and through its undersigned counsel,

 4   hereby files its Verified Answer as follows:

 5                                      NATURE OF THE ACTION

 6           1.       Claimant asserts that the allegations in Paragraph No. 1 of the Plaintiff’s amended

 7   complaint describe the statutory bases to bring this civil action. Those are legal conclusions to

 8   which no responses are required. To the extent that an answer is required, Claimant lacks

 9   sufficient information to admit or deny the allegations in Paragraph No. 1 and on that basis, the

10   Claimant denies them.

11                                     JURISDICTION AND VENUE

12           2.       The Claimant asserts that the allegations in Paragraph No. 2 of the Plaintiff's

13   amended complaint are legal conclusions to which no responses are required. To the extent that

14   an answer is required, the Claimant avers that it lacks sufficient information and belief to admit

15   or deny and therefore deny the allegations of Paragraph No. 2.

16           3.       The Claimant asserts that the allegations in Paragraph No. 3 of the Plaintiff's

17   amended complaint are legal conclusions to which no responses are required. To the extent that

18   an answer is required, the Claimant avers that it lacks sufficient information and belief to admit

19   or deny and therefore deny the allegations of Paragraph No. 3.

20           4.       The Claimant asserts that the allegation in Paragraph No. 4 of the Plaintiff's

21   amended complaint are legal conclusions to which no response is required. To the extent that an

22   answer is required, the Claimant avers that it lacks sufficient information and belief to admit or

23   deny and therefore deny the allegations of Paragraph No. 4.

24                                                 PARTIES

25           5.       The Claimant admits the allegations in paragraph No. 5 of the Plaintiff’s amended

26   complaint.

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28
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 1           6.       With respect to the allegations in paragraph No. 6 of the Plaintiff's amended
 2   complaint, the Claimant admits that the Defendant Property identified in this action is comprised
 3   of the following:
 4                    a)     69,370,22491543 Bitcoin (BTC);
 5                    b)     69,370.10730857 Bitcoin Gold (BTG);
 6                    c)     69,370,10710518 Bitcoin SV (BSV); and
 7                    d)     69,3700.12818037 Bitcoin Cash (BCH)
 8   all of which were contained in Bitcoin wallet/folder/account number
 9   IHQ3G03ggs8pFnXuHVHRytPCq5fGG8Hbhx. By way of further answer, although the
10   Claimant admits that the Plaintiff seized the above-referenced Bitcoin, the Claimant lacks
11   sufficient information or knowledge to know the date and circumstances under which the seizure
12   was accomplished; and, therefore, can neither admit nor deny those elements of Paragraph No. 6.
13   Collaterally, the Claimant asserts that the value for each cache of Bitcoin and/or cryptocurrency,
14   referenced-above, continuously fluctuates, depending on market conditions; and that Claimant
15   assert its unfettered ownership interests in the inconstant value of the Defendant Property to and
16   through the date of final judgment by this Court.
17                                                  FACTS
18           7.       The Claimant asserts that Paragraph No. 7 of the Plaintiff's amended complaint
19   comprises an historical narrative of the events leading up to the Government's seizure of the
20   Defendant Property to which the Claimant was/is not privy. Therefore, the Claimant lacks
21   sufficient information or knowledge to admit or deny the allegations contained in paragraph No.
22   7 and, on that basis, the Claimant denies them.
23           8.       The Claimant asserts that Paragraph No. 8 of the Plaintiff's amended complaint
24   comprises an historical narrative of the events leading up to the Government's seizure of the
25   Defendant Property to which the Claimant was/is not privy. Therefore, the Claimant lacks
26   sufficient information or knowledge to admit or deny the allegations contained in paragraph No.
27   8 and, on that basis, the Claimant denies them.
28
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 1           9.       The Claimant asserts that Paragraph No. 9 of the Plaintiff's amended complaint
 2   comprises an historical narrative of the events leading up to the Government's seizure of the
 3   Defendant Property to which the Claimant was/is not privy. Therefore, the Claimant lacks
 4   sufficient information or knowledge to admit or deny the allegations contained in paragraph No.
 5   9 and, on that basis, the Claimant denies them.
 6           10.      The Claimant asserts that Paragraph No. 10 of the Plaintiff's amended complaint
 7   comprises an historical narrative of the events leading up to the Government's seizure of the
 8   Defendant Property to which the Claimant was/is not privy. Therefore, the Claimant lacks
 9   sufficient information or knowledge to admit or deny the allegations contained in paragraph No.
10   10 and, on that basis, the Claimant denies them.
11           11.      The Claimant asserts that Paragraph No. 11 of the Plaintiff’s amended complaint
12   comprise an historical narrative of the events leading up to the Government's seizure of the
13   Defendant Property to which the Claimant was/is not privy. Therefore, the Claimant lacks
14   sufficient information or knowledge to admit or deny the allegations in Paragraph No. 11 and on
15   that basis, the Claimant denies them.
16           12.      The Claimant asserts that Paragraph No. 12 of the Plaintiff's amended complaint
17   comprise an historical narrative of the events leading up to the Government's seizure of the
18   Defendant Property to which the Claimant was/is not privy. Therefore, the Claimant lacks
19   sufficient information or knowledge to admit or deny the allegations contained in paragraph No.
20   12 and, on that basis, the Claimant denies them.
21           13.      The Claimant asserts that Paragraph No. 13 of the Plaintiff's amended complaint
22   comprises an historical narrative of the events leading up to the Government's seizure of the
23   Defendant Property to which the Claimant was/is not privy. Therefore, the Claimant lacks
24   sufficient information or knowledge to admit or deny the allegations contained in paragraph No.
25   13 and, on that basis, the Claimant denies them.
26           14.      The Claimant asserts that Paragraph No. 14 of the Plaintiff's amended complaint
27   comprises an historical narrative of the events leading up to the Government's seizure of the
28   Defendant Property to which the Claimant was/is not privy. Therefore, the Claimant lacks
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 1   sufficient information or knowledge to admit or deny the allegations contained in paragraph No.
 2   14 and, on that basis, the Claimant denies them.
 3           15.    The Claimant asserts that Paragraph No. 15 of the Plaintiff's amended complaint
 4   comprises an historical narrative of the events leading up to the Government's seizure of the
 5   Defendant Property to which the Claimant was/is not privy. Therefore, the Claimant lacks
 6   sufficient information or knowledge to admit or deny the allegations contained in paragraph No.
 7   15 and, on that basis, the Claimant denies them.
 8           16.    The Claimant asserts that Paragraph No. 16 of the Plaintiff's amended complaint
 9   comprises an historical narrative of the events leading up to the Government's seizure of the
10   Defendant Property to which the Claimant was/is not privy. Therefore, the Claimant lacks
11   sufficient information or knowledge to admit or deny the allegations contained in paragraph No.
12   16 and, on that basis, the Claimant denies them.
13           17.    The Claimant asserts that Paragraph No. 17 of the Plaintiff's amended complaint
14   comprises an historical narrative of the events leading up to the Government's seizure of the
15   Defendant Property to which the Claimant was/is not privy. Therefore, the Claimant lacks
16   sufficient information or knowledge to admit or deny the allegations contained in paragraph No.
17   17 and, on that basis, the Claimant denies them.
18           18.    The Claimant asserts that Paragraph No. 18 of the Plaintiff's amended complaint
19   comprises an historical narrative of the events leading up to the Government's seizure of the
20   Defendant Property to which the Claimant was/is not privy. Therefore, the Claimant lacks
21   sufficient information or knowledge to admit or deny the allegations contained in paragraph No.
22   18 and, on that basis, the Claimant denies them.
23           19.    The Claimant asserts that Paragraph No. 19 of the Plaintiff's amended complaint
24   comprises an historical narrative of the events leading up to the Government's seizure of the
25   Defendant Property to which the Claimant was/is not privy. Therefore, the Claimant lacks
26   sufficient information or knowledge to admit or deny the allegations contained in paragraph No.
27   19 and, on that basis, the Claimant denies them.
28
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 1           20.    The Claimant asserts that Paragraph No. 20 of the Plaintiff's amended complaint
 2   comprises an historical narrative of the events leading up to the Government's seizure of the
 3   Defendant Property to which the Claimant was/is not privy. Therefore, the Claimant lacks
 4   sufficient information or knowledge to admit or deny the allegations contained in paragraph No.
 5   20 and, on that basis, the Claimant denies them.
 6           21.    The Claimant asserts that Paragraph No. 21 of the Plaintiff's amended complaint
 7   comprises an historical narrative of the events leading up to the Government's seizure of the
 8   Defendant Property to which the Claimant was/is not privy. Therefore, the Claimant lacks
 9   sufficient information or knowledge to admit or deny the allegations contained in paragraph No.
10   21 and, on that basis, the Claimant denies them.
11           22.    The Claimant asserts that Paragraph No. 22 of the Plaintiff's amended complaint
12   comprises an historical narrative of the events leading up to the Government's seizure of the
13   Defendant Property to which the Claimant was/is not privy. Therefore, the Claimant lacks
14   sufficient information or knowledge to admit or deny the allegations contained in paragraph No.
15   22 and, on that basis, the Claimant denies them.
16           23.    The Claimant asserts that Paragraph No. 23 of the Plaintiff's amended complaint
17   comprises an historical narrative of the events leading up to the Government's seizure of the
18   Defendant Property to which the Claimant was/is not privy. Therefore, the Claimant lacks
19   sufficient information or knowledge to admit or deny the allegations contained in paragraph No.
20   23 and, on that basis, the Claimant denies them. By way of further answer the Claimant asserts
21   that Individual X could not consent to the transfer/forfeiture of the Defendant Property to the
22   benefit of the United States because he had no property interests and/or rights in the Defendant
23   Property at the time that he executed the consent agreement.
24           24.    The Claimant asserts that Paragraph No. 24 of the Plaintiff's amended complaint
25   comprises an historical narrative of the events leading up to the Government's seizure of the
26   Defendant Property to which the Claimant was/is not privy. Therefore, the Claimant lacks
27   sufficient information or knowledge to admit or deny the allegations contained in paragraph No.
28   24 and on that basis, the Claimant denies them.
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 1                                              VIOLATION
 2           a.       Each of the unnumbered paragraphs of the Plaintiff’s amended complaint under
 3   the “Violation” heading identify the various federal criminal statutes that implicate the
 4   Defendant Property as criminally-derived and/or criminally-involved assets subject to seizure
 5   and forfeiture. Therefore, no response is required.
 6           b.       In the penultimate, unnumbered paragraph of the amended complaint, the Plaintiff
 7   alleges that the Defendant Property is subject to forfeiture pursuant to: 18 U.S.C. § 981 (a)(1)(A)
 8   and (C) and § 981(b); 21 U.S.C. § 881 (a)(6); 18 U.S.C. § 1030; and 18 U.S.C. § 371. The
 9   Claimant fully and categorically denies that the assets comprising the Defendant Property are
10   subject to forfeiture because the Claimant holds judicially-declared superior property interests in
11   those assets, en toto, based on, among other things, the Claimant’s’ victim status and the
12   Claimants’ bona fide and pre-existing property interests in the Defendant Property.
13           c.       The Claimant fully and categorically denies any and all allegations contained in
14   the Plaintiff's amended complaint not specifically admitted above.
15                                      AFFIRMATIVE DEFENSES
16                                  FIRST AFFIRMATIVE DEFENSE
17           The Plaintiff's amended complaint fails to state a claim from which relief can be granted.
18                                 SECOND AFFIRMATIVE DEFENSE
19           The Plaintiff lacks standing to participate in this lawsuit.
20                                  THIRD AFFIRMATIVE DEFENSE
21           Any judgment imposed by this Court that contravenes or extinguishes the
22

23

24                                 FOURTH AFFIRMATIVE DEFENSE
25           The Claimant is an innocent owner who did not know, or have reason to know, that the
26   Defendant Property was proceeds of, or involved in, criminal activity.
27   //
28   //
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 1                                  FIFTH AFFIRMATIVE DEFENSE
 2           The Claimant was not involved in any way in criminal behavior as relates to the
 3   circumstances described in the Plaintiff’s amended complaint.
 4                                  SIXTH AFFIRMATIVE DEFENSE
 5           The Claimant acted in good faith at all times relevant to matters described in the amended
 6   complaint.
 7                               SEVENTH AFFIRMATIVE DEFENSE
 8           The Plaintiff is estopped from pursuing this civil forfeiture because it has failed to
 9   conduct an adequate investigation.
10                           CLAIMANTS’ DEMAND FOR A JURY TRIAL
11           The Claimant demands a trial by jury of all triable issues.
12
      Dated: April 5, 2021                           FOX ROTHSCHILD LLP
13

14                                            By:      /s/ Jaemin Chang
                                                     JAEMIN CHANG
15                                                   JEFF NICHOLAS (Pro Hac Vice To Be Filed)
16

17    Dated: April 5, 2021                           THE LAW OFFICES OF GUY A. LEWIS

18                                            By:      /s/ Guy A. Lewis
                                                     GUY A. LEWIS
19                                                   (Pro Hac Vice To Be Filed)
20

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 1                                                VERIFICATION
 2

 3          I, the undersigned, certify and declare that I have read the foregoing Verified Answer and
     know its contents. The matters stated in the foregoing document are true of my own knowledge
 4
     and belief except as to those matters explicitly stated on information and belief, and as to those
 5
     matters, I believe them to be true.
 6
            I declare under penalty of perjury under the laws of the United States of America that the
 7   foregoing is true and correct to the best of my knowledge. I understand that a false statement or
 8   claim may subject a person to prosecution.

 9
            Dated: April 5, 2021           BATTLE BORN INVESTMENTS COMPANY, LLC
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12                                         By:
                                                 Jay Bloom, Manager
13                                               SJC VENTURES HOLDING LLC
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     VERIFIED ANSWER BY BATTLE BORN                                                  Case No. 20-7811-RS
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